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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                       Chapter 11

    CEDAR HAVEN ACQUISITION, LLC, 1                              Case No. 19-11736 (CSS)

                         Debtor.

                  DECLARATION OF CHARLES B. BLALACK IN SUPPORT
                  OF CHAPTER 11 PETITION AND FIRST DAY PLEADINGS

         I, Charles B. Blalack, hereby declare, pursuant to 28 U.S.C. § 1746, under penalty of

perjury as follows:

         1.       I am the Managing Partner of Stone Barn Holdings, LLC (“Stone Barn”), which is

(i) the Managing Member for Cedar Haven Acquisition, LLC d/b/a Cedar Haven Healthcare

Center (“Cedar Haven” or the “Debtor” or the “Company”), and (ii) and holds ninety-five (95%)

percent of membership interests in the Company. I am authorized to submit this declaration (the

“Declaration”) on behalf of the Debtor. Except as otherwise indicated, all facts set forth in this

Declaration are based upon my personal knowledge, my discussions with members of the Debtor’s

management team and advisors, my review of relevant documents and information concerning the

Debtor’s business, financial affairs, and restructuring initiatives, or my opinions based upon my

experience and knowledge. If called as a witness, I could and would testify competently to the

facts set forth in this Declaration.

         2.       As Managing Partner of Stone Barn, I bring a background in venture capital,

operations and investment banking with experience on boards of both public and private

companies. I have been Managing Partner of Stone Barn since its inception in approximately



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     The Debtor in this case, along with the last four digits of the federal tax identification numbers, is Cedar Haven
     Acquisition, LLC (8400). The mailing address for the Debtor is 590 South 5th Avenue, Lebanon, Pennsylvania
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2012. Since December, 2014, I have been involved in the management of Cedar Haven, and was

previously the Chief Executive Officer and owner of the parent company that owned Spring Creek

Rehabilitation Center in Harrisburg, Pennsylvania. In such capacity, I am familiar with the day-

to-day operations, business and financial affairs of the Debtors.

       3.      I am generally familiar with the Debtor’s day-to-day operations, business, financial

affairs, and books and records. I submit this Declaration to assist the Court and parties-in-interest

in understanding the circumstances that led to the commencement of this chapter 11 case (the

“Chapter 11 Case”) and in support of: (a) the Debtor’s petition for relief under title 11 of the

United States Code (the “Bankruptcy Code”) filed on the date hereof (the “Petition Date”); and

(b) the relief that the Debtor has requested from the Court pursuant to the motions and applications

described herein (collectively, the “First Day Pleadings”).

       4.      To familiarize the Court with the Debtor and the relief the Debtor seeks early in

this Chapter 11 Case, this Declaration is organized in two parts. Part I of this Declaration provides

a description of the Company’s business, capital structure and the circumstances surrounding the

filing of the Chapter 11 petition. Part II of this Declaration sets forth the relevant facts in support

of the Debtor’s various First Day Pleadings filed concurrently herewith.

PART I.        BACKGROUND

A.     DESCRIPTION AND HISTORY OF THE DEBTOR’S BUSINESS.

       5.      The Debtor is a Licensed Skilled Nursing Facility located in Lebanon,

Pennsylvania, that offers professionally supervised nursing care and related medical and health

services to persons whose needs are such that they can only be met in a nursing facility on an

inpatient basis because of age, illness, disease, injury, convalescence or physical or mental

infirmity. The Company is known for its experienced team, high-quality care, therapeutic success,



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and friendly atmosphere. For individuals in need of skilled nursing home care after a hospital stay,

when recovering from the onset of sudden illness or injury, after surgery, or for chronic disease

management, care is provided 24-hours-a-day, 7-days a week.

       6.      The Company, as it exists today, was formed in 2014 through the sale of Cedar

Haven Healthcare Center by the Lebanon County Commissioners to Cedar Haven. The Company

is one of many privatized formerly county-owned skilled nursing facilities in Pennsylvania. Since

the Company has come under new ownership, the quality of clinical care has improved, and the

number of employees and employee wages have increased.

       7.      The Company is an integral part of the community in which it sits. In addition to

much needed healthcare facilities and services for every level of resident need, the Company is an

important trading partner with over fifty (50) vendors and other entities that partly rely on the

Company for their livelihoods. In short, the Company is an important economic engine for the

greater Lebanon, Pennsylvania region. Moreover, at any given time, the Company employs

approximately five hundred (500) mostly-skilled employees.           These employees rely on the

Company for their livelihoods and the Company relies on these incredible employees to act in a

professional manner. The lifeblood of Cedar Haven is its employees and the work they do each

day to ensure each resident’s health, safety, and welfare.

       8.      The Company’s policy is to admit persons who require the provision of inpatient

services that are needed on a daily basis, ordered by and provided under the direction of a

physician, and which require the skills of and are furnished directly by or under the supervision of

technical or professional personnel, such as, registered nurses, licensed practical nurses, physical

therapists, occupational therapists, speech pathologists, etc.




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        9.     Cedar Haven offers its residents a continuum of care in a campus-style setting,

providing living accommodations and related health care and support services. Cedar Haven is a

324 licensed bed facility located at 590 South 5th Avenue, Lebanon, Pennsylvania. (the “Facility”).

        10.    The life care benefits that the Company provides include: (i) skilled nursing, (ii)

memory care, (iii) short-term rehabilitation, (iv) in-house therapy, (v) respite care, and (vi) hospice

care.

               a. Skilled Nursing. The Facility provides skilled nursing care for
                  those requiring home care following a hospital stay, sudden
                  illness or injury, surgery, or related to chronic disease
                  management.

               b. Memory Care. The Facility’s memory care unit provides
                  excellent care for individuals challenged by Alzheimer’s,
                  dementia, and other forms of memory loss.

               c. Short-term Rehab & In-house Therapy. The Facility’s
                  therapy department is comprised of modern facilities and over
                  twenty (20) certified therapists who assist both long- and short-
                  term residents with their physical, speech, and occupational
                  therapy goals.

               d. Respite Care. Cedar Haven provides Respite Services for
                  caregivers who need temporary, short-term care for their loved
                  ones in a nurturing and fun environment.

               e. Hospice Care. Cedar Haven provides high-quality care to
                  residents during many phases of life, including treatment for
                  terminal illness and compassionate end-of-life care. The
                  Facility’s staff has a rich history of providing supportive and
                  dignified care to its community. Our team supports our residents
                  and their families to improve quality of life and provide the best
                  possible care.

        11.    As of the Petition Date, the Facility employs approximately five hundred (500)

employees (the “Employees”). The Employees include (i) registered nurses, licensed practical

nurses and certified nursing assistants; (ii) physicians; (iii) physical, occupational, and speech

therapist; and (iv) social service, activities, housekeeping, laundry, maintenance, dietary, and

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administrative staff. The Employees are retained on a full-time, part-time, or casual basis, all of

whom are all located in the greater Lebanon, Pennsylvania area.

        12.     Cedar Haven’s nursing department includes highly skilled Registered Nurses,

Licensed Practical Nurses and Certified Nursing Assistants. The nursing team is available 24-

hours a day to assist with resident medications, wound care, and the activities of daily living.

Cedar Haven’s team of physicians is led by its medical director. Physicians are on-site six days a

week, and are available on-call as needed. Cedar Haven’s therapy department has over twenty

(20) certified therapists who assist the Facility’s long and short-term residents with their physical,

occupational, and speech therapy goals. The therapy team also works with families and caregivers

to provide training and support for a safe discharge.

        13.     The Company currently has 294 residents, consisting of 259 Medicaid residents, 21

private pay residents, 11 Medicare residents, 2 HMO residents and 1 bed holds resident. Based on

the Company’s 324 licensed beds, its current occupancy is 90.74%.

        14.     The Company receives most of its revenue from Medicaid reimbursements for the

services it provided to its residents.      The Company also receives significant revenue from

Medicare, Medicare Plan B, HMO insurers, other providers of private insurance. The Company

receives a small amount of revenue from its gift shop, Renova 2, vending machines and bed tax

revenues.

        15.     The Company records its revenues based on its standard charges for resident

services rendered. The Company has contractual arrangements with the Commonwealth of

Pennsylvania Department of Human Services (DHS) and the Centers for Medicare & Medicaid



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    Renova is a County run program where the Company was asked to continue to provide physical space as an
    accommodation. Renova is an intermediate care wing of the Company that provides residential care for
    approximately twenty-five (25) people with intellectual disabilities.

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Services (Medicare) to render services to qualifying Medicaid and Medicare beneficiaries under

cost-based programs which result in the Company receiving payments for such services which

differ from the standard charges. Any differences of this nature are recorded as contractual

adjustments.

       16.     Under the Medical Assistance program, nursing services provided to beneficiaries

are paid at prospectively determined rates per day. These rates vary according to clinical

diagnostic and other factors and are subject to limitations and adjustments including a budget

adjustment factor. In addition, the Company is eligible to receive disproportionate share incentive

payments if occupancy is at least 90% and 80% of the resident occupancy are beneficiaries of

medical assistance. Net revenue from the Medical Assistance and Medicare programs accounted

for approximately 73% and 19%, respectively, of the Company’s net resident service revenue for

the year ended December 31, 2018.

The Leased Facility

       17.     The Company leases the land, facility, fixtures, and the Certificate of Need from

590 South 5th Avenue, LLC (the “Landlord”). The Landlord retains title to these items and they

are not separable under the terms of the lease agreement. In December 2017, the Landlord obtained

a HUD-insured loan secured by the healthcare facility. As part of the refinancing, the Company

entered into an amended lease with the Landlord. The lease is partially guaranteed by the sole

member of Stone Barn.

       18.     In addition, the Company is responsible for any additional sums, amounts, fees,

expenses, and costs payable or reimbursable to the Landlord, including payments to the reserve

for taxes, insurance, payments to the replacement reserve and necessary maintenance.




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Related Party Transactions

        19.     The Company has service agreements with Stone Barn, and Stone Barn

Management, LLC (“SBM”), an affiliate of Stone Barn. The service agreements are subordinated

to the lease payments to Landlord.

        20.     The Company is supported by efforts and professional services by Stone Barn and

SBM. The industry’s usual and customary fee of five percent (5%) is split between both entities

relative to their different responsibilities. Together, Stone Barn and SBM provide strategic

development, competitive understandings and operational plans to constantly improve the

Company along with the Company’s management. Stone Barn supervises and oversees the

performance by SBM of its management services at the facility and also provides oversight,

advisory, supportive, consultative and administrative services for the Debtor in connection with,

among other things, the areas of: (i) dietary; (ii) facility maintenance; (iii) clinical assistance; (iv)

resident care and quality assurance; (v) administration; (vi) purchasing; (vii) and data processing,

pursuant to that certain Management Services Agreement dated as of July 30, 2015. Stone Barn

also prepares a written annual budget for the operation of the Facility for the Debtor. The

agreement is for a period of five (5) years through July 2020, with automatic renewal options for

two additional five-year terms. The agreement requires the Company to pay a fee of five percent

(5%), in total, of net revenues, less any amount paid by the Company to Management or any other

third party for management services.

        21.     SBM provides certain non-clinical and non-medical administrative services for the

Debtor, including, among other things: (i) fiscal management and administration; (ii) nursing; (iii)

finance and accounting; (iv) dietary; (v) facility maintenance; (vi) housekeeping and laundry; (vii)

social services; (viii) recreational therapy; (ix) marketing and admissions; and (x) clinical



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reimbursement, pursuant to that certain Management Services Agreement dated as of August 1,

2015.

        22.    Since May 2015, the Cedar Haven has been managed by Stone Barn and SBM.

Stone Barn and SBM specialize in providing long-term care residential facilities with strategic

support and expertise in the areas of accounting, banking, marketing and sales, operations

management, and technology.

        23.    The fee for the services provided by Stone Barn and SBM is five percent (5%) of

revenues and was $1,503,550.00 for the year ended December 31, 2018.

B.      CIRCUMSTANCES LEADING TO THE COMMENCEMENT OF THIS CHAPTER 11 CASE.

        24.    Despite the improvements made by the Company in the operations and financial

success of the Facility, the Company seeks chapter 11 relief in an effort to restructure its debts and

to alleviate burdensome costs deriving from (i) a prior union strike, (ii) challenges due to

reductions in Medicaid reimbursement rates, and (iii) contentious litigation.

Medicaid Reductions

        25.    In 2017, the Company experienced three large Medicaid reimbursement reductions

that totaled $12.25 per resident day:




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       26.     As a skilled-nursing facility committed to caring for the aging population of

Lebanon County (with 86% Medicaid residents in 2017), this rate change affected the Company’s

profitability dramatically.

       27.     Additionally, there was a staggering number of call-offs by employees that made

the Company’s efficient operation even more difficult. In nursing alone, Cedar Haven experienced

219 call-offs in August and 155 call-offs between September 1st and 20th of 2017. These excessive

call-offs dramatically increased overtime and temporary nursing agency costs.

The 2017 Union Strike and Subsequent Decertification

       28.     These difficulties were complicated by the Company’s relationship with the Union

that represented over 250 (84%) of the Company’s employees at the time, The American

Federation of State, County and Municipal Employees, AFL-CIO Council 89 (the “Union”). In

October 2017, after approximately eleven meetings over several months, Cedar Haven and the

Union reached an impasse over contract negotiations. Reaching an agreement was frustrated by

the Union’s lack of meaningful movement, especially in light of significant cuts in Medicaid

reimbursements affecting Cedar Haven’s revenue and a 12% increase in health insurance costs.

       29.     In October, Cedar Haven implemented its Last, Best and Final offer. The National

Labor Relations Board thoroughly investigated the Union’s claim that Cedar Haven committed an

unfair labor practice by implementing its Last, Best and Final offer, and such claim was dropped.

       30.     Cedar Haven employees represented by the Union decided to strike beginning on

October 20, 2017. During the strike, Cedar Haven remained focused on its mission — to deliver

high-quality care to its residents every day. Cedar Haven deployed US Nursing Corporation staff

from other areas to ensure that its residents would continue to receive quality care despite the

strike. This emergency staffing effort cost Cedar Haven over $5 million, but was necessary in



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order to care for the needs of our residents. Sixty-nine (69) Union-represented employees chose

not to strike, seventy (70) more returned to work by January, 2018, and fifty (50) other non-Union

employees continued to care for our residents. Through multiple job fairs and accelerated hiring

campaigns, Cedar Haven was able to hire over one hundred (100) new staff members during the

strike.

          31.   During this period, the Facility’s census declined 314 to 290 residents, in part due

to slanderous misinformation that was circulated in the community by the Union. The Company

employed an innovative communication strategy to educate the community with information about

the strike and was able to successfully inform tens of thousands of individuals with our message.

During this challenging period, I loaned $2.5M of my own personal funds to support the Cedar

Haven payroll. Additionally, during this period SBM did not collect approximately $1.7M in

management fees, instead prioritizing payment to vendors who were providing necessary direct

care and healthcare services to our residents.

          32.   In April 2018, our employees voted to decertify the Union, recognizing their

confidence in the Company to provide appropriate and competitive benefits without the need for

Union negotiation.

          33.   In 2018, Cedar Haven was downgraded to a 3-star facility due in part to dietary

deficiencies directly related to our dietary vendor’s performance (the Company received 5 dietary

deficiencies and one care-related deficiency). The average census level during the 5-star period

was 311. During the following period with the dietary vendor’s deficiencies, Cedar Haven’s

average census declined to 294. The decline in star rating affected our census because the Centers

for Medicare and Medicaid Services (“CMS”) encourages our potential residents from all referral

sources to review our star rating on the CMS website and compare it to our major competitors.



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       34.     Additionally, WellSpan Good Samaritan Hospital, our primary referral source, has

a strict policy prohibiting them from including a 3-star facility in their preferred provider program.

Other referral sources, like Lancaster General, print the star rating on the sheet of discharge options

that they present to their patients when offering choices for sub-acute care. Broadly, the annual

income received for an additional census level is $100,000.00. The dietary deficiencies impacted

the star rating and therefor the average census level was lowered by approximately 17 residents.

The approximate revenue per person per day is $225.00 per day which is $82,125.00 annually.

The impact of 17 less census created a loss for the Company of approximately of $1,396,125.00

per year.

       35.     The Company is also currently a defendant in ten (10) lawsuits filed by various

former vendors seeking in excess of $4.9 million in damages. While the Company believes it has

valid defenses to many of these claims, the Company simply cannot afford to continue to litigate

all of these claims in various courts.

       36.     Despite these challenges, Cedar Haven was slightly profitable in March of 2019

However, soon after the Company received notice that it would face additional Medicaid

reimbursement reductions of $7.15 per resident per day. Our decreased census and slashed

reimbursement rate, paired with the exorbitant costs accrued during the strike and the ongoing

litigation, put Cedar Haven in another extremely challenging period.

       37.     In response to these challenges, Cedar Haven underwent a restructuring in May of

2019. The Company raised private pay bed rates and introduced a new pricing structure for

amenities including salon services and television rentals, which had previously been provided free

of charge for residents. The Company conducted a thorough audit of its existing staffing schedule

and, under the leadership of its new Director of Nursing, launched a completely new schedule that



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improved the effectiveness and efficiency of the business as a provider of high-quality healthcare

services. The Company continues to find ways to be more efficient in its operations.

       38.     Today, Cedar Haven is faced with challenges due to the continued decline in

Medicaid reimbursement, our decreased census, ongoing litigation costs and the rising costs of

providing care for our residents.

C.     THE COMPANY’S OWNERSHIP AND CAPITAL STRUCTURE.

       39.     Stone Barn owns ninety-five percent (95%) and Michael D. D’Arcangelo owns five

percent (5%) of the membership interests of the Debtor. Charles B. Blalack, the Debtor’s

Managing Partner, owns one hundred percent (100%) of the membership interests of Stone Barn.

THE PREPETITION CREDIT FACILITY

       40.     On December 1, 2015, the Debtor and Capital Finance, LLC and the additional

financing institutions from time to time party (collectively, the “Existing Lender”) and Capital

Finance, LLC, as Agent (together with its successors and assigns “Agent”), entered into the that

certain Credit and Security Agreement dated December 1, 2015 (as amended by that certain First

Amendment to Credit and Security Agreement and Waiver dated November 30, 2018 (the

“Existing Loan Agreement”). The Existing Loan Agreement is guaranteed by Stone Barn (the

“Senior Guarantor”).

       41.     Pursuant to the Existing Loan Agreement, the Existing Lender provided the Debtor

with a $3,000,000.00 revolving credit facility (the “Revolving Credit Facility”). As of the

Petition Date, the outstanding principal balance of the Revolving Credit Facility was

$1,417,591.00 (the “Pre-Petition Obligations”).




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       42.     The Pre-Petition Obligations are secured by liens (the “Pre-Petition Liens”) on

substantially all of the Debtor’s assets (the “Pre-Petition Collateral”). The Agent, for the benefit

of itself and the Existing Lender, has a first priority lien on: (a) all Accounts arising from the

delivery of goods and rendering services by the Debtor prior to an event of default and the proceeds

thereof; (b) Deposit Accounts and the proceeds thereof; and (c) All Accounts arising after an event

of default and the proceeds thereof solely to the extent of (and in the amount of) Protective

Advances made after the event of default in accordance with the terms of the Intercreditor

Agreement (as defined below) (the “Existing Lender Priority Collateral”).

THE OPERATING LEASE OBLIGATIONS.

       43.     The Debtor is also indebted to the Landlord and Capital Funding, LLC (“Capital

Funding”) pursuant to that certain Operating Lease (and related agreements) dated December 17,

2017 (as amended, the “Operating Lease”), pursuant to which the Debtor leases and operates its

324-bed long term skilled nursing facility known as “Cedar Haven Healthcare Center” (the

“Facility”) located at 590 South 5th Avenue, Lebanon, Pennsylvania. The Debtor’s obligations

under the Operating Lease are partially guaranteed by Charles B. Blalack, subject to a monetary

cap equal to twenty-four (24) months of fixed rent.

       44.     The initial term of the Operating Lease was for 30 years and current monthly rent

due under the Operating Lease is $250,000 (the “FHA Obligations”). The FHA Obligations are

secured by liens (the “FHA Liens”) on substantially all of the Debtor’s assets (“Capital

Funding’s Collateral”) pursuant to that certain Operator Security Agreement (the “Operator

Security Agreement”), dated as of December 1, 2017, by and between the Debtor and Capital

Funding and are governed by the Intercreditor Agreement (as defined below).




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        45.     Capital Funding has a first priority lien on substantially all of the Debtor’s assets,

except for the Existing Lender Priority Collateral, in accordance with the terms of the Intercreditor

Agreement (the “Capital Funding Priority Collateral”).

THE INTERCREDITOR AGREEMENT

        46.     The relative rights of the Existing Lender, Capital Funding, the Landlord and the

Debtor are governed by that certain Intercreditor Agreement, dated as of December 12, 2017 (the

“Intercreditor Agreement”).

        47.     Pursuant to section 2.1(a) of the Intercreditor Agreement, the Existing Lender has

a first priority security interest in the Existing Lender Priority Collateral to secure the Pre-Petition

Obligations and Capital Funding has subordinated to Existing Lender’s security interest Capital

Funding’s security interest in the Existing Lender Priority Collateral.

        48.     Pursuant to section 2.2(a) of the Intercreditor Agreement, Capital Funding has a

first priority security interest in Capital Funding Priority Collateral to secure the FHA Obligations

and the Existing Lender has subordinated to Capital Funding Existing Lender’s security interest,

if any, in the Capital Funding Priority Collateral to secure the FHA-Insured Loan.

        49.     Finally, pursuant to section 4.3 of the Intercreditor Agreement, in the event of the

commencement of a bankruptcy case by the Debtor, the Existing Lender has the non-exclusive

option to continue to provide financing to the Debtor if the Existing Lender deems such financing

to be in its best interests. The subordination and lien priority provisions in the Intercreditor

Agreement continue to apply to all Existing Lender Priority Collateral arising on the

commencement and during the pendency of this Chapter 11 Case pursuant to the terms of the

Intercreditor Agreement.




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THE CHAS BLALACK LOAN AND SECURITY AGREEMENT

           50.      On November 9, 2018, the Debtor and I entered into that certain Loan and Security

Agreement (the “Blalack Loan Agreement”) whereby the Debtor acknowledged: (i) that I had

advanced an aggregate sum of Two Million Five Hundred Seven Thousand Nine Hundred Ninety-

Seven Dollars ($2,507,997.00) to the Debtor plus accrued interest in the amount of Three Hundred

Twenty-Six Thousand Six Hundred Twenty-Nine Dollars and Eighty Cents ($326,629.80); and (ii)

that the balance of such loans, including interest on such loans accruing at the Debtor’s borrowing

rate, was Two Million Eight Hundred Thirty-Four Thousand Six Hundred Twenty-Six Dollars and

Eighty Cents ($2,834,626.80) (the “Blalack Loan”). The Blalack Loan was advanced by me to

fund continued operations to ensure residents would continue to receive the care they needed

during the strike and thereafter. Interest on the Blalack loan accrues at a rate of eight (8%) percent

per annum and is secured by a junior lien on all of the Debtor’s assets. To further aid in easing the

liquidity crisis the strike caused, Stone Barn and SBM also voluntarily agreed to defer

$1,497,023.86 in management fees for operating the Facility.

II.        EVIDENTIARY SUPPORT FOR FIRST DAY PLEADINGS 3

           51.      The Debtor has filed or will file a number of “first day” and “second day” motions

seeking orders granting various forms of relief. I believe the forms of relief requested are

necessary to enable the Debtor to operate with minimal disruption during the pendency of the

Chapter 11 Case and to ensure the best outcome for the Debtor, its estate, its creditors, and all other

parties-in-interest. A description of the relief requested and the facts supporting each of the First

Day Pleadings is set forth below.




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      Any capitalized terms used but not defined in this section shall have the meaning ascribed to it in the underlying
      applicable motion or application.

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        52.     I have reviewed each of the First Day Pleadings, including the exhibits thereto. The

Debtor believes, and I agree, that the Debtor has satisfied the applicable standards for the relief

requested in each of the First Day Pleadings and that the Court’s grant of the requested relief is in

the best interests of the Debtor’s estate, its creditors, and all other parties-in-interest. Accordingly,

on behalf of the Debtor, I respectfully submit that the First Day Pleadings should be approved.

A.      DEBTOR’S APPLICATION FOR APPOINTMENT               OF   STRETTO   AS   CLAIMS   AND   NOTICING
        AGENT (“CLAIMS AGENT APPLICATION”)

        53.     Pursuant to the Claims Agent Application, the Debtor seeks the entry of an order

appointing Stretto (“Stretto”) as the Court-appointed claims and noticing agent for this Chapter

11 Case, including assuming full responsibility for the distribution of notices and the maintenance,

processing, and docketing of proofs of claim filed in the Debtor’s Chapter 11 Case.

        54.     The Debtor’s selection of Stretto satisfies the Court’s Protocol for the Employment

of Claims and Noticing Agents under 28 U.S.C. § 156(c), in that the Debtor has obtained and

reviewed engagement proposals from at least three (3) court-approved claims and noticing agents

to ensure selection through a competitive process. Moreover, the Debtor submits, based on all

engagement proposals obtained and reviewed, that Stretto’s rates are competitive and reasonable

given Stretto’s quality of services and expertise. The terms of Stretto’s retention are set forth in

that certain Engagement Agreement annexed to the Claims Agent Application as Exhibit A (the

“Engagement Agreement”). Through the Claims Agent Application, the Debtor is seeking

approval solely of the terms and provisions as set forth therein and the proposed order attached

thereto.

        55.     Although the Debtor has not yet filed its schedules of assets and liabilities, it

anticipates that there will be in excess of 1,500 entities to be noticed in this case. Considering the

number of expected claimants and the complexity of the Debtor’s business, I respectfully submit


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that authorizing the relief requested herein is in the best interests of both the Debtor’s estate and

its creditors, and appropriate in this Chapter 11 Case due to the number of creditors, equity holders,

and other parties-in-interest involved in this case, which will likely impose heavy administrative

and other burdens on the Debtor, the Court, and the Clerk’s Office. Accordingly, I believe that

appointing Stretto as the claims and noticing agent in this Chapter 11 Case will maximize the value

of the Debtor’s estate for all of its stakeholders.

B.      DEBTOR’S MOTION FOR ENTRY OF AN ORDER AUTHORIZING THE IMPLEMENTATION OF
        PROCEDURES TO MAINTAIN AND PROTECT CONFIDENTIAL RESIDENT INFORMATION
        (THE “CONFIDENTIALITY MOTION”)

        56.     By this Motion, the Debtor respectfully requests entry of the Proposed Order,

pursuant to sections 105(a), 107, and 521(a)(1) of the Bankruptcy Code, Bankruptcy Rules 1007,

9018, and 9037, and Local Rule 1007, authorizing the implementation of procedures to protect

confidential information of the Debtor’s Residents as required by the Health Insurance Portability and

Accountability Act of 1996 (“HIPAA”).

        57.     In the ordinary course of providing care for its residents, the Debtor is required to

maintain the confidentiality of resident information pursuant to HIPAA. However, the Debtor

recognizes that such requirements may conflict with the duty to disclose certain information under

the Bankruptcy Code, including, without limitation, the duty to file a list of creditors under section

521(a)(1)(A) and a list of schedules of assets and liabilities under section 521(a)(1)(B)(i).

        58.     The Debtor believes that the requirements to maintain resident confidentiality under

HIPAA conflict with the requirements to disclose information under the Bankruptcy Code,

specifically the duty to file a list of all creditors under section 521(a)(1)(A) and the duty to file

schedules of all assets and liabilities under section 521(a)(1)(B)(i). I therefore respectfully request




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that such resident information be protected through the proposed Resident Confidentiality

Procedures herein pursuant to section 107(c) of the Bankruptcy Code, which allows a bankruptcy

court, for cause, to protect an individual if disclosure would create an undue risk of unlawful injury.

       59.     I believe that the relief requested herein appropriately balances the need to maintain

confidential resident information under HIPAA with the need for adequate disclosure under the

Bankruptcy Code. Given the nature of any information that may reveal even the identity of

resident, confidentiality in this context is of paramount importance.

C.     DEBTOR’S MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS (A) AUTHORIZING THE
       CONTINUED USE OF THE DEBTOR’S CASH MANAGEMENT SYSTEM; AND (B) EXTENDING
       THE TIME TO COMPLY WITH THE REQUIREMENTS OF SECTION 345(B) OF THE
       BANKRUPTCY CODE (THE “CASH MANAGEMENT MOTION”)

       60.     Pursuant to the Cash Management Motion, the Debtor seeks the entry of interim

and final orders authorizing the Debtor to continue using its cash management system, existing

bank accounts, and business forms and granting Debtor a sixty (60) day extension to comply with

the investment and deposit requirements of section 345(b) of the Bankruptcy Code.

The Debtor’s Bank Accounts

       61.     As of the Petition Date, the Debtor’s Cash Management System employed a total

of nine (9) bank accounts, including one (1) account holding funds of its residents in trust

(collectively, the “Bank Accounts”) with the following financial institutions (collectively with

any other institutions with which the Debtor maintains or established deposit accounts or

investment accounts, the “Banks”): (a) CIBC Bank USA (“CIBC”); and (b) First National Bank

(“FNB”).

       62.     Schedule 1 attached to the Cash Management Motion sets forth for each of the

Bank Accounts the name of the institution at which the account is maintained, the account number

(last four digits only) and a description of the purpose of the account. The Debtor manages its


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cash receipts, transfers and disbursements through the Bank Accounts. In doing so, the Debtor

routinely deposits, withdraws and otherwise transfer funds to, from and between the Bank

Accounts by various methods including check, wire transfer, automated clearing house transfer

and electronic funds transfer. On a daily basis, the Debtor processes large numbers or transactions

through the Cash Management System as described below. The Debtor maintains current and

accurate records of all transactions processed through the Cash Management System.

The Debtor’s Cash Management System and Bank Accounts

         63.      Prior to the Petition Date, in the ordinary course of business the Debtor employed

a cash management system to efficiently collect, transfer, and disburse funds generated by its

business operations (the “Cash Management System”).                          The Cash Management System

facilitates the Debtor’s cash forecasting and reporting, as well as enables the Debtor to maintain

control over the administration of its Bank Accounts and to monitor and record the collection and

disbursement of funds. The Debtor does not engage in any intercompany transfers.

         64.      Among other benefits, the Cash Management System permits the Debtor to

accurately monitor cash availability at all times and permits the Debtor to centrally manage and

track the collection and transfer of funds, which reduces administrative burden and expense and

maximizes interest income.

         65.      The Cash Management System consists of the following Bank Accounts:

                                         a. Operating Account. The Debtor maintains an operating
                                            account (the “Operating Account”) at CIBC.                The
                                            Operating Account receives payments from residents,
                                            insurers, rental income from the Renova Center, 4 and
                                            funding from the Capital Finance line of credit, are deposited


4
    The Renova Center (“Renova”) is an intermediate care facility that provides residential (live-in) services to 25
    individuals with severe or profound intellectual disabilities. Renova sublets a space on the Debtor’s property and
    pays the Debtor approximately $26,525.00 per month for rent, laundry services, maintenance and food, subject to
    adjustment in subsequent months.

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                    directly into the Operating Account and all disbursements,
                    including payroll, is funded from such Operating Account.

              b. Disbursement Account.        The Debtor maintains a
                 disbursement account (the “Disbursement Account”) at
                 CIBC. The Disbursement Account is funded by the
                 Operating Account and is used for check and wire payments.

              c. Government Receipts Account. The Debtor maintains an
                 account at CIBC that is used to accept deposits from
                 government payors (i.e., Medicaid / Medicare) and other
                 insurance payers (the “Government Receipts Account”).
                 The Government Receipts Account is swept daily into the
                 Commercial Account.

              d. Commercial Account. The Debtor maintains an account at
                 CIBC to accept commercial receipts and the funds swept
                 from the Government Receipts Account (the “Commercial
                 Account”). All funds collected in the Commercial Account
                 are transferred daily to Capital Finance.

              e. Deposit Account. The Debtor maintains a deposit account
                 with FNB to accept deposits from the Debtor’s gift shop,
                 employee lunches, vending machines and other
                 miscellaneous sources (the “Deposit Account”).

              f. Gift Account. The Debtor maintains an account with FNB
                 to accept deposits from residents’ families, friends, and other
                 contributors (the “Gift Account”). Funds from the Gift
                 Account are used for the betterment of the Debtor’s facility
                 for resident purposes. The funds in the Gift Account may be
                 earmarked for a specific use, such as a bench in memory of
                 someone, but may be given for the facility’s need.
                 Improvements such as benches, outdoor plantings,
                 improvements to pathways, indoor seating areas, certain
                 supplies or clothing for residents without financial resources
                 may be purchased with these funds.

              g. HRA Account. The Debtor maintains a separate account
                 with FNB to pay employee health insurance claims (the
                 “HRA Account”). The HRA Account is funded by the
                 Operating Account.

              h. Petty Cash Account. The Debtor maintains a separate
                 account with FNB for miscellaneous facility expenses.




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                                    i. Trust Fund. Finally, the Debtor maintains a separate account
                                       with FNB to hold personal funds of the Debtor’s residents
                                       (the “Trust Fund”). Money held in the Trust Fund is
                                       disbursed to residents upon request. The Trust Fund
                                       currently holds approximately $280,000.00.

       66.     FNB is an authorized bank depository by the Office of the United States Trustee

for Region 3 (the “U.S. Trustee”) pursuant to the U.S. Trustee’s Operating Guidelines for Chapter

11 Cases (the “UST Operating Guidelines”). Although CIBC is not identified as an authorized

depository, it is a highly-rated financial institution that is well-capitalized and financially stable,

and the Bank Accounts maintained at CIBC are insured by the Federal Deposit Insurance

Corporation (the “FDIC”).

The Debtor’s Business Forms

       67.     In addition to the Cash Management System and Bank Accounts, the Debtor uses

in the ordinary course of business numerous business forms (including but not limited to checks,

deposit slips, letterhead, contracts, purchase orders and invoices) (collectively, the “Business

Forms”).

       68.     Most of the Business Forms are printed on an as-needed basis from an electronic

template and therefore, the Debtor intends to designate “Debtor-in-Possession” on such forms.

However, with respect to preprinted Business Forms, the Debtor requests that it be authorized to

continue to use these preprinted Business Forms on a postpetition basis and once its existing stock

is depleted, the Debtor will then replace them with stock containing the “Debtor-in-Possession”

designation. I submit that it would be expensive and wasteful, and disruptive to the Debtor’s

business, to destroy all of these forms and order new ones. Absent this relief, the estate will be

required to bear a potentially significant expense that the Debtor believes is unwarranted, without

any meaningful corresponding benefit, and would unnecessarily distract the Debtor away from its

efforts from administering this Chapter 11 Case.
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          69.   The Debtor utilizes the Cash Management System in the ordinary course of its

business. The Cash Management System currently in place enables the Debtor to (a) closely

control and monitor corporate funds, (b) fully comply with requirements of its credit facility, (c)

ensure cash availability, and (d) reduce administrative expenses by facilitating the efficient

movement of funds. In light of the manner in which the Debtor generates and tracks revenues

related to its operations, any disruption in the Debtor’s cash management procedures will hamper

the Debtor’s reorganizational efforts. Altering the Cash Management System may disrupt (i)

payments to key vendors, Capital Finance, contractors, and employees, and (ii) the receipt of funds

from the Debtor’s residents and their insurance providers. Therefore, it is essential that the Debtor

be permitted to continue to use its Cash Management System in accordance with its existing cash

management procedures.

          70.   I respectfully submit that under the circumstances, the maintenance of the Debtor’s

Cash Management System in substantially the same form as it existed prior to the Petition Date is

in the best interests of the Debtor’s estate and creditors. Preserving a “business as usual”

atmosphere and avoiding the unnecessary distractions that inevitably would be associated with any

substantial changes to the Cash Management System will (a) facilitate the Debtor’s stabilization

of their postpetition operations and (b) assist the Debtor in its effort to maximize value for its

estate.

          71.   In order to ensure that the Debtor’s residents continue timely to pay their invoices

and vendors continue to provide goods and services to the Debtor, it is critical that the Debtor

maintains as much consistency as possible during the early stages of this case in order to avoid

serious disruption to its operations. Changing accounts could significantly and negatively impact

Debtor’s cash flow as it takes a substantial amount of time to open new accounts.



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        72.      By virtue of the nature and scope of the Debtor’s business operations and the

number of customers and suppliers of goods and services with whom the Debtor deals on a regular

basis, it is important that the Debtor be permitted to continue to use the preprinted Business Forms

without alteration or change and without the “Debtor-in-Possession” designation. Otherwise, the

estate will be required to bear a potentially significant expense, which the Debtor respectfully

submits is unwarranted. Once such preprinted Business Forms are depleted, the Debtor will then

seek to replace them with forms containing the “Debtor-in-Possession” designation.

        73.      The Debtor requires this relief to minimize the disruption of the Cash Management

System and its Bank Accounts, and to assist it in accomplishing a smooth transition to operating

in Chapter 11.

D.      DEBTOR’S MOTION FOR INTERIM AND FINAL ORDERS AUTHORIZING THE DEBTOR TO
        PAY CERTAIN PREPETITION TAXES AND FEES (“PREPETITION TAXES
        MOTION”)

        74.      Pursuant to the Prepetition Taxes Motion, the Debtor seeks entry of interim and

final orders, (i) authorizing, but not directing, the Debtor to pay, in its discretion, certain prepetition

taxes and related obligations as necessary to conduct its business operations in the ordinary course

and (ii) authorizing financial institutions to honor all checks, drafts, and other forms of payment,

including fund transfers, used by the Debtor relating to the foregoing.

        75.      Prior to the Petition Date, the Debtor, in its ordinary course of business, incurred

various taxes, including property and sales taxes, as well as license and regulatory fees, and other

fees (collectively, the “Taxes and Fees”). The Debtor remits the Taxes and Fees to various

federal, state, and local authorities, including taxing and licensing authorities (collectively, the

“Authorities”). The Debtor pays the Taxes and Fees to the Authorities on a periodic basis,

remitting them monthly, quarterly, semiannually, or annually depending on the nature and

incurrence of a particular Tax or Fee. As of the Petition Date, the Debtor’s financial records
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indicate that approximately $4,000.00 in Taxes and Fees have accrued relating to the prepetition

period, of which approximately $500.00 will become due and payable in the first twenty-one (21)

days of this Chapter 11 Case.

Real Property Taxes

       76.     The Debtor is required to pay taxes on its leased real property (the “Real Property

Taxes”). The Real Property Taxes include School District, Fire Protection, Lebanon Count, and

South Lebanon Township taxes that the Debtor is obligated to pay under the lease agreement for

its facilities in Lebanon, Pennsylvania. In accordance with the terms of the lease agreement, the

Debtor deposits the Real Property Taxes into a reserve account from which its landlord pays the

Authorities. Annually, the Debtor pays approximately $255,000.00 with respect to the School

District Taxes for fiscal year July – June, which taxes are paid in August, and approximately

$85,000.00 per calendar year for the Municipal Taxes. In accordance with the lease agreement,

the Debtor prepays its landlord for the Real Property Taxes at $25,000.00 per month. As of the

Petition Date, the Debtors’ financial records indicate that they are substantially current on the

payment of Real Property Taxes but, out of an abundance of caution, seek to pay such taxes if due

within the first twenty-one (21) days of the Petition Date and thereafter as necessary in the ordinary

course of business.

Personal Property Taxes

       77.     The Debtor is required to pay taxes on business owned and leased personal property

(the “Personal Property Taxes” and, together with the Real Property Taxes, the “Property

Taxes”). Personal property generally includes furniture, fixtures, equipment, machinery, tools,

supplies, inventory, and any other property not classified as real property. As of the Petition Date,

the Debtor’s financial records indicate that they are substantially current on the payment of



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Personal Property Taxes to all Authorities but, out of an abundance of caution, seek to pay such

taxes if due within the first twenty-one (21) days of the Petition Date and thereafter as necessary

in the ordinary course of business.

Sales Taxes

       78.     In the ordinary course of business, the Debtor collects sales tax (the “Sales Taxes”)

from (i) the sale of food and beverages to customers (usually residents and visiting family

members); (ii) salon services; and (iii) television rentals. The Debtor remits approximately

$3,000.00 in the aggregate in Sales Taxes per year to the Authorities. Based on historical monthly

payments, as of the Petition Date, the Debtor estimates that it owes approximately $125.00 in Sales

Taxes to the Authorities relating to the prepetition period. The Debtor does not believe any Sales

Tax will become due and payable in the first twenty-one (21) days of this Chapter 11 Case.

Regulatory, Licensing, and Other Fees

       79.     In the ordinary course of business, the Debtor is obligated to pay a variety of

regulatory and licensing fees, as well as fees related to the operations of the healthcare business,

including business licenses, registrations, and other types of permits and fees (the “Business

Fees”) in order to continue conducting its business. As of the Petition Date, Business Fees are

paid to federal, local and state Authorities in Pennsylvania. The Debtor typically pays the Business

Fees quarterly or annually, or as otherwise required under applicable law.

       80.     The Debtor pays approximately $10,000.00 per year with respect to the Business

Fees. The Debtor estimates that, as of the Petition Date, it owes approximately $4,000.00 in

Business Fees to the Authorities relating to the prepetition period, of which approximately $500.00

will become due and payable in the first twenty-one (21) days of this Chapter 11 Case.




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        81.     I am informed that certain states may impose personal liability on the Debtor’s

directors and officers to the extent the Debtor fails to meet its obligation to remit Taxes and Fees,

even if the failure to pay such Taxes and Fees was not a result of any malfeasance on its part. I

am also informed that the Debtor’s failure to pay certain Taxes and Fees could cause some states

to challenge the Debtor’s right to operate within the states’ jurisdictions. Addressing any action

taken by these states would be costly and burdensome and would be an unnecessary distraction

during this Chapter 11 Case. Therefore, I believe that it is in the best interests of the Debtor’s

estate to eliminate the possibility of the foregoing distractions.

        82.     Without question, the payment of the Taxes and Fees is necessary here. It is in the

best interest of the Debtor’s estate that the Taxes and Fees be paid on time to avoid any disruptions.

Delayed payment of the Taxes and Fees may cause the Authorities to take precipitous action,

including a marked increase in state audits, a flurry of lien filings, and significant administrative

maneuvering at the expense of the Debtor’s time and resources. Prompt and regular payment of

the Taxes and Fees will avoid this unnecessary governmental action. Based on the foregoing, I

submit that the relief requested herein is in the best interest of the Debtor, its estate, its creditors,

its stakeholders, and other parties-in-interest and, therefore, should be granted.

E.      DEBTOR’S MOTION FOR THE ENTRY OF INTERIM AND FINAL ORDERS (I) AUTHORIZING
        THE DEBTOR’S PROPOSED FORM OF ADEQUATE ASSURANCE OF PAYMENT, (II)
        ESTABLISHING PROCEDURES FOR RESOLVING OBJECTIONS BY UTILITY COMPANIES,
        AND (III) PROHIBITING UTILITY COMPANIES FROM ALTERING, REFUSING, OR
        DISCONTINUING SERVICE (“UTILITIES MOTION”)

        83.     Pursuant to the Utilities Motion, the Debtor seeks the entry of interim and final

orders (a) approving the Debtor’s proposed form of adequate assurance of postpetition payment to

its utilities, as that term is used in section 366 of the Bankruptcy Code (the “Utility Companies”),

of a two (2) week deposit for each Utility Company for a total of approximately $18,062.00;

(b) approving procedures for resolving any objections by the Utility Companies relating to the
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Proposed Adequate Assurance, and (c) prohibiting the Utility Companies from altering, refusing,

or discontinuing service to, or discriminating against, the Debtor solely on the basis of the

commencement of this case, a debt that is owed by the Debtor for services rendered prior to the

Petition Date, or on account of any perceived inadequacy of the Debtor’s Proposed Adequate

Assurance.

        84.     In connection with the operation of its business and the management of its property,

the Debtor obtains utility services, including electric, gas, water, oil & diesel, sewer, trash removal,

ISP, telephone, cable and other similar services (collectively, the “Utility Services”), from the

Utility Companies covering a number of utility accounts. The relief requested in this Motion is

for all Utility Companies providing Utility Services to the Debtor and is not limited to those listed

on the list of providers of Utility Services attached to the Final Order as Schedule 1 (the “Utility

Company List”). The Debtor has made an extensive and good faith effort to identify all of the

Utilities that provide them Utility Services and to include them in Schedule 1. Nevertheless, the

Debtor reserves the right to supplement Schedule 1 by filing a notice (a “Supplemental Notice,”

and together with Schedule 1, as may be so supplemented, the “Utilities List”) at a later date with

the Court if necessary.

        85.     On average, prior to the Petition Date, the Debtor spent approximately $40,321.00

each month on account of Utility Services. As reflected on Schedule 1, only one (1) of the

Debtor’s Utility Companies holds a deposit, which deposit equals approximately two-months’

costs for that Utility Company.

        86.     Uninterrupted Utility Services are essential to the Debtor’s business operations

during the pendency of this Chapter 11 Case. Should any Utility Company alter, refuse, or

discontinue service, even for a brief period, the Debtor’s business operations could be severely



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disrupted, and such disruption would jeopardize the Debtor’s reorganizational efforts. It is

essential that the Utility Services continue uninterrupted. Accordingly, the Debtor seeks to

establish an orderly process for providing adequate assurance to the Utility Companies without

jeopardizing the Debtor’s business operations.

       87.     I maintain that the relief requested in this Motion strikes a fair balance between

protecting the rights of the Utility Companies and the rights of the Debtor under the Bankruptcy

Code and the need for the Debtor to continue to receive, for the benefit of its estate, the Utility

Services upon which it depends. I do not believe that the Utility Companies will be prejudiced by

the Proposed Adequate Assurance, the requirement to provide the Debtor with uninterrupted

access to Utility Services, and the procedures for resolving objections to the Proposed Adequate

Assurance.

F.     MOTION OF THE DEBTOR FOR ENTRY OF AN INTERIM AND FINAL ORDER AUTHORIZING
       THE DEBTOR TO (I) CONTINUE INSURANCE COVERAGE ENTERED INTO PREPETITION AND
       SATISFY PREPETITION OBLIGATIONS RELATED THERETO; (II) RENEW, AMEND,
       SUPPLEMENT, EXTEND, OR PURCHASE INSURANCE POLICIES; (III) HONOR THE TERMS
       OF THE PREMIUM FINANCING AGREEMENTS AND PAY PREMIUMS THEREUNDER; AND
       (IV) ENTER INTO NEW PREMIUM FINANCING AGREEMENTS IN THE ORDINARY COURSE
       OF BUSINESS (THE “INSURANCE MOTION”)

       88.     Pursuant to the Insurance Motion, the Debtor seeks the entry of interim and final

orders authorizing the Debtor to (i) continue insurance coverage entered into prepetition and satisfy

prepetition obligations related thereto; (ii) renew, amend, supplement, extend, or purchase

Insurance Policies; (iii) honor the terms of the Premium Financing Agreements and pay premiums

thereunder; and (iv) enter into new Premium Financing Agreements in the ordinary course of

business.

       89.     In the ordinary course of business, the Debtor maintains approximately eight (8)

insurance policies that are administered by various third-party insurance carriers (collectively, the

“Insurance Carriers”). These policies provide coverage for, among other things, general and
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professional liability, umbrella liability, commercial auto, commercial property, employment

practices liability, workers compensation, excess professional liability and cyber liability

(collectively, the “Insurance Policies”). A schedule of the Insurance Policies is attached to the

Insurance Motion as Exhibit C. 5

         90.      The aggregate annual premium for the Insurance Policies is approximately

$599,681.04, not including applicable taxes and surcharges, deductibles, and broker and consulting

fees and commissions.

         91.      The Debtor finances the premiums for its Insurance Policies (collectively, the

“Financed Policies”) because it is not economically advantageous for the Debtor to pay the

premiums on the Financed Policies, in full, on a lump-sum, quarterly, or monthly basis.

Accordingly, in the ordinary course of business, the Debtor finances the premiums on the Financed

Policies pursuant to a premium financing agreement with US Premium Finance (the “Premium

Financing Agreement”). In consideration for US Premium Finance’s obligation to pay the

Debtor’s insurance premiums on account of the Financed Policies, the Premium Financing

Agreement requires the Debtor to pay US Premium Finance an initial down payment, followed by

nine (9) monthly payments. Payment details on the respective Insurance Agreements are set forth

on Exhibit C.

         92.      As of the Petition Date, the Debtor has paid approximately $688,359.00 on account

of the down payments and the Premium Financing Agreement. The Debtor believes that all

obligations under the Premium Finance Agreement that were due and payable on or prior to the



5
    In addition to the Insurance Policies listed on Exhibit C attached hereto, the Debtor maintains numerous insurance
    policies with respect to, among other things, employee health, dental, vision, AD&D, and life insurance benefits.
    These programs are described, and relief is requested with respect to such programs, in the Debtor’s Motion for
    Entry of Interim and Final Orders (I) Authorizing the Debtor to (A) Pay Certain Prepetition Wages, Salaries,
    Benefits and Other Compensation, and (B) Maintain Employee Benefits Programs and Pay Related Obligations,
    and (II) Granting Related Relief filed contemporaneously herewith.

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Petition Date have been fully paid, but, out of an abundance of caution, the Debtor seeks authority

to satisfy any such prepetition obligations outstanding as of the Petition Date.

        93.    The Debtor’s obligations under the Premium Financing Agreement are secured by

all sums payable to the Debtor under the Financed Policies, including, among other things, all

dividends, payments on claims, unearned premiums and unearned commissions. If the Debtor was

unable to continue honoring its obligations under the Premium Financing Agreement, US Premium

Finance may seek relief from the automatic stay to terminate the Financed Policies to recoup its

losses. The Debtor could then be required to obtain replacement insurance on an expedited basis

and likely at significant cost to its estate. The Debtor likely would face great hardship if it was

required to obtain replacement insurance and pay a lump-sum premium for the Financed Policies

in advance. Even if the Financed Policies were not terminated, any interruption in the Debtor’s

payments could have a severe, adverse effect on the Debtor’s ability to finance premiums for future

policies.

        94.    In addition, pursuant to the Insurance Policies, the Debtor may be required to pay

various deductibles or retention amounts (the “Insurance Deductibles”), depending upon the type

of claim and insurance policy involved. Under certain Insurance Policies, the Insurance Carriers

and third-party administrators may pay claimants and then invoice the Debtor for reimbursement

for claims paid within any Insurance Deductible. In such situations, the Insurance Carriers may

have prepetition claims against the Debtor. As of the Petition Date, the Debtor does not believe

there are any material prepetition obligations owed to Insurance Carriers relating to Insurance

Deductibles, but, out of an abundance of caution, the Debtor seeks authority to satisfy any such

prepetition obligations, and to continue honoring all obligations thereunder on a postpetition basis

in the ordinary course of business.



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       95.     Continuation of the Debtor’s Insurance Policies, and entry into new insurance

policies, is essential to the preservation of the value of the Debtor’s business and operations.

Moreover, in many instances, insurance coverage is required by the regulations, laws, and

contracts that govern the Debtor’s commercial activities, including the Office of the United States

Trustee’s (the “U.S. Trustee”) requirement that a debtor maintain adequate coverage given the

circumstances of its chapter 11 case. Accordingly, to ensure uninterrupted coverage, the Debtor

requests authority to maintain its existing Insurance Policies, pay any prepetition Insurance

Obligations related thereto, honor its obligations under the Premium Financing Agreement, and

enter into new Insurance Policies in the ordinary course of business. In addition, to the extent that

the Premium Financing Agreement expires during the course of this Chapter 11 Case, the Debtor

seeks authority to renew its Premium Financing Agreement without further Court approval. I

respectfully submit that renewal of the Premium Financing Agreement falls squarely within its

ordinary course of business and, but for the constraints of section 364 of the Bankruptcy Code, the

Debtor would not need the Court’s prior approval to renew the Premium Financing Agreement.

To reduce the administrative burden, as well as to confirm its ability to satisfy one of its obligations

of operating as a debtor-in-possession, the Debtor seeks the Court’s authority now to renew the

Premium Financing Agreement when and as necessary in the Debtor’s business judgment.

       96.     In the ordinary course of business, the Debtor utilizes KMDR Partners, Inc. as its

insurance broker (the “Insurance Broker”) to obtain its Insurance Policies. The Insurance Broker

primarily assists the Debtor with the procurement and negotiation of the Insurance Policies,

enabling the Debtor to obtain the Insurance Policies on advantageous terms and at competitive

rates. The Insurance Broker is compensated for its services through either a commission from the

Insurance Carriers, or payment under the Premium Financing Agreement (the “Brokerage Fees”).



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To the best of the Debtor’s knowledge, it does not owe any prepetition Brokerage Fees; however,

de minimis Brokerage Fees may be included in the aforementioned Premium Finance Agreement.

To the extent the Debtor has to pay the Brokerage Fees in the future, the Debtor seeks the Court’s

authority to do so since the employment of the Insurance Broker allows the Debtor to obtain and

manage its Insurance Programs in a reasonable and prudent manner and to realize considerable

savings in the procurement of the Insurance Programs by having access to market comparables

provided by the Insurance Brokers.

        97.     The Debtor believes it is essential to its estate and consistent with the Bankruptcy

Code and the UST Operating Guidelines that it continues to satisfy all obligations related to the

Insurance Policies and have the authority to supplement, amend, extend, renew, or replace its

Insurance Policies as needed, in its judgment, without further order of the court. Continuation of

the Insurance Policies is essential to preserving uninterrupted operations and the value of the

Debtor’s estate. Failing to maintain the Insurance Policies would impair—if not altogether halt—

the Debtor’s ability to operate, resulting in a material adverse effect on the Debtor’s business and

the value of its estate.

        98.     I believe that continuing to perform under the Premium Financing Agreement on a

postpetition basis is in the best interests of its estate.     Moreover, in light of its financial

circumstances, alternative insurance premium finance companies may not be willing to provide

insurance premium financing to the Debtor on attractive market terms on a postpetition basis.

Simply put, it is critical for the Debtor to continue to perform under its existing Premium Financing

Agreement.




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G.     DEBTOR’S MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS (I) AUTHORIZING THE
       DEBTOR TO (A) PAY CERTAIN PREPETITION WAGES, SALARIES, BENEFITS, AND OTHER
       COMPENSATION AND (B) MAINTAIN EMPLOYEE BENEFITS PROGRAMS AND PAY
       RELATED OBLIGATIONS, AND (II) GRANTING RELATED RELIEF (“EMPLOYEE WAGE
       MOTION”)

       99.     Pursuant to the Employee Wage Motion, the Debtor requests entry of the Proposed

Orders authorizing the Debtor to (i) pay, in its discretion, all prepetition amounts required or

related to the Prepetition Employee Obligations and Employee Benefits Programs (together with

all fees, costs, and expenses incident thereto, including amounts owed to third-party

administrators, the “Employee Obligations”); and (ii) maintain, and continue honoring and

paying, in its discretion, all amounts with respect to the Employee Obligations as such were in

effect as of the commencement of this Chapter 11 Case and as such may be modified, amended,

or supplemented from time to time in the ordinary course of business, including amounts owed to

third-party administrators.

       100.    To enable the Debtor to carry out the relief requested, the Debtor also requests that

the Court authorize all applicable financial institutions and banks (the “Banks”), and Infinisource,

Inc. (the “Payroll Processor”) to receive, process, honor, and pay all checks presented for payment

and all electronic payment requests made by the Debtor relating to the Employee Obligations,

whether such checks were presented or electronic-payment requests were submitted prior to or

after the date hereof.

       101.    As of the Petition Date, the Debtor employs five hundred (500) employees (the

“Employees”). The Employees are retained on a full-time, part-time, or casual basis, all of whom

are all located in Lebanon, Pennsylvania. On occasion, the Debtors also utilize the services of

temporary employees. None of the Debtor’s Employees are represented by a union.




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       102.    In general, full-time salaried Employees are part of the Debtor’s management team

and are scheduled to work at least 40 hours per week. Full-time hourly Employees are regularly

scheduled to work at least 37.5 hours per week. Both categories of Employees are entitled to the

Employee Benefits Programs described below.            Regular part-time Employees are typically

scheduled to work more than 30 hours, but fewer than 37.5 hours each week. Those Employees

regularly working more than 30 hours per week are also eligible for all Employee Benefits

Programs. Part-time Employees that are regularly scheduled to work fewer than 30 hours per week

are not entitled to the Employee Benefits Programs (other than those statutorily required). Casual

Employees are those who work on an as-needed basis. These Employees are also not entitled to

the Debtor’s Employee Benefits Programs (other than those statutorily required). To remain in a

casual employee status, the employee must work at least 16 hours per pay period, unless another

schedule has been specifically agreed to by Human Resources.

A.     PREPETITION EMPLOYEE OBLIGATIONS.

       103.    The following summarizes the various types of Prepetition Employee Obligations

offered by the Debtor:

       (a)     Wages

       104.    In the ordinary course of business, the Debtor pays its Employees wage and salary

obligations (collectively, the “Wages”) on either a salaried or hourly basis. Among the Debtor’s

Employees, 21 are salaried employees and 479 are hourly employees. Nearly all of the Employees

receive their wages, salaries, and other compensation by direct deposit, with the remaining

Employees receiving checks.




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       105.    In the ordinary course of business, Employees are paid on a bi-weekly basis, with

one week in arrears. The Debtor’s last payroll was paid to Employees on August 2, 2019 for the

period from July 14 2019 to July 27, 2019. The next scheduled payroll is due to be paid on August

16, 2019 for the period from July 28, 2019 to August 10, 2019. The Debtor estimates that the total

amount of the August 16, 2019 payroll will be approximately $600,000.

       106.    Payroll is funded to the Payroll Processor every other Thursday, with the applicable

Employees paid the following Friday. As of the Petition Date, the Debtor estimates it owes

Employees approximately $300,000 on account of accrued but unpaid Wages, all of which will

become due and owing within the first twenty-one (21) days of this Chapter 11 Case (collectively,

the “Unpaid Wages”). The Debtor believes that, as of the Petition Date, no Employee is owed

Unpaid Wages in excess of the $13,650.00 cap under section 507(a)(4) of the Bankruptcy Code.

       (b)     Employee Incentive Programs

       107.    In the ordinary course of business, the Debtor has typically maintained incentive

programs for certain categories of Employees (collectively, the “Incentive Programs”). The

Incentive Programs consist of (i) a quarterly attendance bonus for Employees with satisfactory

attendance records at work (the “Attendance Bonus”); (ii) a sign-on bonus paid over the first year

of employment for new Employees remaining with the company for three months, six months, and

one year (the “Sign-on Bonus”); and (iii) a Referral Bonus when existing employees refer a new

employee for a full-time or regular part-time position (the “Referral Bonus”).

       108.    Payments under the Incentive Programs are paid to Employees with their Wages

when they become due.      The Attendance Bonus is paid to qualifying employees in the month

following the end of the quarter. The Sign-on Bonus payments are made with the payroll that

includes the employee’s three-month (15% of total), six-month (20%) and one-year (65%)



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anniversaries. The Referral Bonuses are partially paid at the end of the new employee’s orientation

period and the balance at their one-year anniversary. The Debtor estimates that approximately

$10,000.00 in unpaid Incentive Programs was accrued as of the Petition Date.

       109.    For those Employees who receive bonuses, the bonuses earned under the Incentive

Programs are an important aspect of their overall compensation. Maintaining historical prepetition

practices with regard to Incentive Programs is essential to ensuring that the Debtor can retain its

Employees and continue to operate its business and maximize value through the duration of this

Chapter 11 Case. Therefore, the Debtor seeks authority, but not direction, to honor its obligations

under the Incentive Programs and to maintain the Incentive Programs in the ordinary course of the

Debtor’s business.

       (c)     Reimbursable Expenses

       110.    Prior to the Petition Date and in the ordinary course of business, the Debtor

reimbursed Employees for certain allowed business and travel-related expenses incurred on behalf

of the Debtor (the “Reimbursable Expenses”). Employees pay for such expenses directly from

their own funds and are reimbursed upon the submission of an expense reimbursement form

itemizing the applicable business expenses.      Reimbursement is contingent on the Debtor’s

determination that the charges are for legitimate, reimbursable business expenses.

       111.    Reimbursable Expenses approximate to $300.00 to $400.00 per month. As of the

Petition Date, the Debtor estimates that it owes approximately $1,000.00 in outstanding prepetition

Reimbursable Expenses. The Debtor’s incurrence of Reimbursable Expenses varies from month-

to-month. As a result, the Debtor cannot accurately estimate prepetition, unpaid Reimbursable

Expenses.




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       112.    Employees incurred the Reimbursable Expenses as business expenses on the

Debtor’s behalf and with the understanding that they would be reimbursed. To avoid harming

Employees who incurred the Reimbursable Expenses, the Debtor requests authority to (a) continue

paying the Reimbursable Expenses in accordance with prepetition practices, including payment to

and in adherence with the Debtor’s policy for reimbursing Employees such expenses, and honor

any prepetition obligations related thereto to the extent Employees have paid for such expenses

directly from their own funds or are otherwise personally liable for such expenses; (b) modify their

prepetition policy relating thereto as they deem appropriate without the need for further court

approval; and (c) pay all Reimbursable Expenses to Employees that (i) accrued prepetition and (ii)

accrue postpetition but relate to the prepetition period. The Debtor requests authority to pay up to

$500.00 on an interim basis and $1,000.00 on a final basis on behalf of the Reimbursable Expenses.

The Debtor also seeks authority to continue its reimbursement policy in the ordinary course during

the administration of the Chapter 11 Case.

       (d)     Holidays/Paid Time-Off and Leaves of Absence

       113.    The Debtor offers full-time Employees pay for predetermined holidays (“Paid

Holidays”). In addition, Employees are eligible for paid time away from work based on the

employee’s length of service. These absences include personal illness, vacation, preventive care,

care for a family member, school activities, medical/dental appointments, personal business and

emergencies (collectively, “Paid Time Off”). The maximum Paid Time Off an Employee may

accrue at any time is 7.08 hours per pay period. The Debtor anticipates that certain Employees

will seek to use or redeem for cash Paid Time Off accrued during the prepetition period after the

Petition Date (“PTO Payouts”). As of Petition Date, the Debtor estimates that its accrued liability

in connection with unused Paid Time Off equaled approximately $170,000.00. All of the Paid



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Time Off is fully-vested and eligible to be redeemed; however, no PTO Payouts will be honored

unless required by applicable state law.

        114.     I respectfully request permission to honor all unused Paid Time Off that accrued

prior to the Petition Date, in accordance with its historical practices and in the ordinary course of
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business. The Debtor also seeks authority to continue to incur and pay eligible Employees for

Paid Holidays consistent with past practices.

        (e)      Deductions and Withholdings

        115.     During each applicable payroll period, the Debtor routinely deducts certain

amounts from its Employees’ gross pay, including, without limitation, (a) pre-tax and after-tax

deductions payable pursuant to the Employee Benefits Programs discussed herein (e.g.,

contributions relating to health care benefits and 401(k)) and (b) other miscellaneous deductions

(collectively, the “Deductions”). Every two-weeks, the Debtor deducts and the Payroll Processor

remits to appropriate third-party recipients approximately $70,000.00 from the Employees’

paychecks for the Deductions. As of the Petition Date, approximately $200.00 in Employee

Deductions have been withheld and not yet remitted to third-party recipients. Out of an abundance

of caution, the Debtor requests authority to remit any unpaid prepetition Deductions that exist.

Additionally, the Debtor seeks authority to continue deducting amounts from the applicable

Employee’s wages and salaries and forwarding Deductions to the appropriate third-party recipients

on a postpetition basis, in the ordinary course of business, and consistent with past practices. The

Deductions represent earnings that applicable authorities have designated for deduction from

Employees’ paychecks and, thus, may not be property of the Debtor’s estate.


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    In addition, the Debtor also provides all Employees with other leaves of absence as required by law (collectively,
    the “Leaves of Absence”). Leaves of Absence include jury duty, voting leave, medical leave, and bereavement
    leave. Employees do not accrue Leaves of Absence over time, and Leaves of Absence are not reflected as a
    liability on the Debtor’s respective balance sheets.

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       116.    In addition to the Deductions, the Debtor is required by law to withhold amounts

related to federal income taxes, as well as Social Security and Medicare taxes for remittance to the

appropriate taxing authority (collectively, the “Withheld Amounts”). The Debtor is also required

to pay additional amounts for federal and state unemployment insurance (together with the

Withheld Amounts, the “Payroll Taxes”). On a monthly basis, the Debtor remits approximately

$360,000.00 in Payroll Taxes, which amounts include employer taxes plus what is withheld and

remitted on behalf of the Employee. As of the Petition Date, the Debtor estimates accrued and

unpaid Payroll Taxes (collectively, the “Unremitted Payroll Taxes”) total approximately

$175,000.00. Because the Deductions and Unremitted Payroll Taxes are not property of the

Debtor’s estate, the Debtor requests that the Court authorize the Debtor to transmit these amounts,

all of which will become due within the first twenty-one (21) days of this Chapter 11 Case, to the

appropriate parties in the ordinary course of business.

B.     EMPLOYEE BENEFITS PROGRAMS.

       117.    In the ordinary course of business, the Debtor offers eligible Employees the

opportunity to participate in a number of health and welfare benefits programs, including medical,

dental and vision insurance, life and disability insurance, and other employee benefit plans as

described below (collectively, the “Employee Benefits Programs”). Maintaining these benefits

and honoring obligations thereunder is necessary to preserve employee morale and maintain the

stability of the Debtor’s workforce during this Chapter 11 Case.

       118.    Medical Plan. The Debtor offers a choice of three medical plans to eligible

Employees (the “Medical Plan”), which is administered by Meritain Health (an Aetna Company)

(“Meritain”). The coverage in the Medical Plan and associated premiums differ depending on the

level of coverage Employees elect to receive and whether the Employee has dependents covered



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by the applicable plan. The Employees contribute toward the coverage through payroll deductions,

with the Debtor paying the balance of the premiums. As of the Petition Date, the Debtor believes

that there are no outstanding pre-petition premiums for the Medical Plan.

        119.   Dental Plan. Eligible Employees may also enroll in a dental plan (the “Dental

Plan”) administered by Meritain. The Employees contribute toward the Dental Plan coverage

through payroll deductions, with the Debtor paying the balance of the premiums. As of the Petition

Date, the Debtor believes that there are no outstanding pre-petition premiums owed to Meritain on

account of the Dental Plan.

        120.   Vision Plan. Eligible Employees may also enroll in a vision plan (the “Vision

Plan”) administered by Meritain. The Employees contribute toward the Vision Plan coverage

through payroll deductions, with the Debtor paying the balance of the premiums. As of the Petition

Date, the Debtor estimates that no amounts are owed to Meritain on account of the Vision Plan.

        121.   Company-Paid Plans. The Debtor provides eligible Employees with company-paid

Life and Accidental Death & Dismemberment insurance (the “Company-Paid Plan”). The

Company-Paid Plan is administered by Guardian. As of the Petition Date, the Debtor estimates

that approximately $600.00 is owed to the plan administrator on account of the Company-Paid

Plan.

        122.   Employee-Paid Plans. The Debtor also provides full-time Employees with the

opportunity to participate in an employee-paid benefit plan, Legal and ID Shield (the “Employee-

Paid Plan”). The Employee-Paid Plan is administered by Legal Shield. Employees contribute

100% of the cost of their Employee-Paid Plans with after-tax deductions from their paychecks. As

of the Petition Date, the Debtor estimates that it owes approximately $425.00 to the plan

administrator on account of the Employee-Paid Plan.



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       123.    401(k) Plan. The Debtor maintains for the benefit of eligible Employees an

employee savings plan, administered through Mass Mutual, which is a tax-qualified plan within

the meaning of, and administered in accordance with, the requirements of section 401(k) and other

applicable sections of the Internal Revenue Code (the “401(k) Plan”). The Debtor matches

twenty-five percent (25%) of the first four percent (4%) contributed toward the 401(k) Plan, for

those Employees that opt into the 401(k) Plan. There are approximately 107 participants in the

401(k) Plan. The Debtor withholds certain amounts from participating Employee’s paychecks and

contributes such amounts to the 401(k) Plan (the “Employee 401(k) Contributions”). The Debtor

estimates that it withholds a total of approximately $20,000.00 in Employee 401(k) Contributions

and matches approximately $3,5000 each month.            As of the Petition Date, approximately

$11,850.00 has been withheld or obligated as matching funds and not yet remitted to the 401(k)

Plan administrator. The Debtor requests authority to continue the 401(k) Plan and Employee

401(k) Contributions on a postpetition basis.

       124.    Other Policies and Benefits. Eligible Employees have the benefit of certain other

policies and benefits, including, but not limited to, jury duty, bereavement leave, voting leave, and

military duty leave, some of which are mandated or encouraged by law and some of which may

have pay or benefits components. The Debtor seeks authorization to continue the aforementioned

policies and benefits and to make any payments on account of any accrued but unpaid amounts

owing thereunder.

       125.    The Debtor requests authority to (a) continue the Employee Benefits Programs in

the ordinary course of business, (b) continue making the above-described contributions to the

Employee Benefits Programs, and (c) pay any amounts related thereto, including premiums, claims

amounts, and administration fees, to the extent that they remain unpaid as of the Petition Date in



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the ordinary course of business. The Debtor requests authority to pay $123,000 in pre-petition

administrative fees, monthly premiums, and funding for Employee Benefits Programs on an

interim basis and $140,000 on a final basis.

C.     THE PAYROLL PROCESSOR

       126.    As noted above, the Debtor uses the Payroll Processor to administer payroll funds

made available to Employees through direct deposit. The Payroll Processor’s responsibilities

include processing payroll and transferring funds from the Debtor to its Employees and to the

relevant taxing and garnishing authorities. The Debtor pays the Payroll Processor approximately

$108,000.00 per year for its services. As of the Petition Date, the Debtor estimates the Payroll

Processor is owed approximately $2,300.00. Because the services provided by the Payroll

Processor are crucial to the smooth functioning of the Debtor’s payroll system, the Debtor requests

permission to pay any unpaid Payroll Processor fees, and to continue to pay fees that accrue during

this bankruptcy case in the ordinary course of business.

       127.    The payment of the Employee Obligations and continuation of the Employee

Benefits Programs serve the sound business purpose of maximizing the value of the Debtor’s

estate. The Debtor’s success in this Chapter 11 Case, and the future of the reorganized company,

hinges in large part on the morale and continued dedication and efforts of its Employees. The vast

majority of the Employees rely exclusively on their compensation, benefits, and reimbursement of

expenses to satisfy their daily living expenses, support their families, and maintain their health and

well-being. Consequently, these Employees would be exposed to significant financial difficulties

if the Debtor was not permitted to (i) continue paying compensation, (ii) provide employee

benefits, and (iii) maintain existing programs. Through the payment of the Employee Obligations,

the Debtor seeks to motivate and encourage the Employees to continue to support the Debtor’s



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reorganization efforts. Accordingly, this Court should grant the requested relief under section 363

of the Bankruptcy Code.

        128.    The potential harm and economic disadvantage that would stem from the failure to

pay the Employee Obligations is grossly disproportionate to the amount of any prepetition claim

that may be paid. Any failure by the Debtor to pay the Employee Obligations would negatively

impact the morale of the Debtor’s workforce at a critical time for the Debtor and its business which

could impact resident care. The Debtor seeks to minimize the personal hardship the Employees

would suffer if the Employee Obligations are not paid when due or as expected. The Debtor has

examined other options short of payment of the Employee Obligations and have determined that

to avoid significant disruption of the Debtor’s business operations and ensure continued excellent

resident care, there exists no practical or legal alternative to payment of such obligations.

        129.    Paying the Employee Obligations and continuing with the Employee Benefits

Programs will benefit the Debtor’s estate and its creditors by allowing the Debtor to continue

business operations postpetition ensuring continued excellent resident care. The Employees

provide the Debtor with services essential to its residents and the operation of the Debtor’s

business, and the Debtor believes that absent the payment of the employee compensation and

benefits owed to the Employees, the Debtor will experience employee turnover and instability at

this critical time.

        130.    Payment of the Employee Obligations is a necessary and critical element of the

Debtor’s effort to preserve its going concern value and will give the Debtor the greatest likelihood

of retention of its Employees as the Debtor seeks to operate its business in this Chapter 11 Case.

Indeed, the Debtor believes that without the relief requested herein, its Employees may seek




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alternative opportunities. Such a development would deplete the Debtor’s workforce, thereby

undermining the Debtor’s restructuring efforts.

H.     DEBTOR’S MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS AUTHORIZING THE
       DEBTOR TO (I) MAINTAIN, ADMINISTER, MODIFY, AND RENEW ITS REFUND PROGRAMS
       AND PRACTICES AND (II) HONOR OBLIGATIONS RELATED THERETO (THE “REFUND
       PROGRAMS MOTION”)

       131.    Pursuant to the Refund Programs Motion, the Debtor seeks entry of interim and

final (a) authorizing the Debtor (i) to maintain, administer, modify, and renew their Refund

Program and make payments to residents and allow offsets by Third-Party Payors or to otherwise

honor accrued prepetition obligations owed under their Refund Program (collectively, and as

identified therein, the “Refund Program Obligations”) and (ii) to continue, replace, modify, or

terminate any Refund Program in the ordinary course of business, (b) authorizing and directing

financial institutions to receive, process, honor, and pay all related checks and electronic payment

requests for payment of Refund Program Obligations, (c) scheduling a final hearing to consider

approval of this Motion on a final basis, and (d) granting related relief.

       132.    In the ordinary course of business, the Debtor is required to make refunds to

residents and third-party payors, including healthcare insurers, private pay sources (“Private

Third Party Payors”), Medicare, Medicaid, and potentially other governmental and quasi-

governmental agencies (and together with the Private Third Party Payors, the “Third-Party

Payors”), when overpayments are identified. In the ordinary course of business, the Debtor

routinely issues refunds or are subject to offsets for reimbursement of overpayments made by or

on behalf of residents resulting from the interaction between the Debtor’s billing procedures,

resident medical insurance deductibles, and third-party payments (the “Refund Program”).

       133.    The case-by-case nature of the Debtor’s medical services makes the process of

determining each resident’s insurance coverage particularly complex. As a result, whether due to


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data input errors during claims processing, or overpayments arising from coordination-of-benefits

issues among multiple insurers, resident accounts—once fully processed—may contain credit

balances. Once the Debtor receives payments from residents or insurers, the Debtor reviews

accounts that have credit balances and refund any surplus to the resident or are subject to an offset

to the Third-Party Payor’s receivable balance based on an overpayment.

       134.    When the Debtor discovers and verifies an overpayment from a resident or Third-

Party Payor, the amount of the overpayment is reviewed in the Debtor’s billing system, which then

administers refunds to the resident as appropriate. Offsets by Third-Party Payors are reconciled

by the Debtor after the offset occurs. There is typically a significant lag between when the resident

is treated, when the overpayment is recognized or determined, and when the overpayment is

reviewed in the Debtor’s billing system. After the overpayment amount is determined, either the

Debtor issues a check or other form of payment to the resident or the Third-Party Payor offsets

future receivables in the amount of the overpayment.

       135.    At any given time, it is difficult to determine the amount of outstanding

overpayments that have been made and identified, but for which a refund check or offset has not

yet been issued. Moreover, some refund checks issued to residents before the Petition Date may

not have been presented for payment or may not have cleared the Debtor’s banking system or

accounting system and, accordingly, have not been honored and paid as of the Petition Date.

Nonetheless, the Debtor is required, under the laws of Pennsylvania, to reimburse residents and

Third-Party Payors as overpayments are identified. The Debtor estimates that approximately

$9,000.00 in refunds to residents or Third-Party Payor offsets are processed in a given month,

although larger amounts of refunds may be due and owing at any given time.




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       136.    As of the Petition Date, the Debtor estimates that approximately $27,000.00 in

refunds and credit balances may be due and owing under the Refund Program, of which

approximately $9,000.00 could become due and owing during the first twenty-one (21) days of

this Chapter 11 Case. The Debtor requests authority to pay and allow offsets up to $9,000.00 in

Refund Program Obligations, in the ordinary course of business on an interim basis, pending entry

of the Final Order granting the relief requested herein, and to continue to issue and pay and allow

offsets for the Refund Program Obligations to residents and Third-Party Payors, including refunds

for overpayments made prepetition or resulting from prepetition services in the ordinary course of

business, on a post-petition basis.

       137.    The necessity of the Refund Program in the medical services industry cannot be

overstated. Failure to honor the Refund Program Obligations would likely cause the Debtor to

lose a significant number of payors and residents, which would damage its reputation for

reliability, thereby resulting in a long-term decline in business. Additionally, if the Refund

Program Obligations are not honored, the Debtor may face legal sanctions or be liable for fines in

the jurisdiction in which it operates. Thus, the Refund Program is necessary for the Debtor to

remain competitive and maintain its resident base at this critical juncture.

I.     MOTION OF DEBTOR FOR ENTRY OF INTERIM AND FINAL ORDERS AUTHORIZING
       PAYMENT OF PREPETITION OBLIGATIONS OWED TO CRITICAL VENDORS (THE
       “CRITICAL VENDOR MOTION”)

       138.    Pursuant to the Critical Vendor Motion, the Debtor seeks entry of interim and final

orders authorizing, but not directing, the Debtor to pay, in consultation with the DIP Lender, all or

a portion of their Critical Vendor Claims to Critical Vendors in an amount not to exceed

$100,000.00 on an interim basis and $200,000.00 on a final basis (with respect to each of the

interim and final periods, as applicable, the “Critical Vendor Cap”).



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        139.    In the ordinary course of its business, the Debtor purchases goods and/or services

from certain vendors or suppliers, whose continued, uninterrupted provision of such good and/or

services will play a crucial role in maintaining the Debtor’s ongoing business operations as a

skilled nursing and rehabilitation facility (the “Critical Vendors”). The Critical Vendors provide

a variety of goods and services, all of which are required to continue the daily operations of the

Debtor’s business. In addition, certain Critical Vendors are essential in order to maintain resident

care at the Debtor’s facilities, and for the Debtor to comply with requirements under the Health

Insurance Portability and Accountability Act of 1996 (“HIPAA”).

        140.    Because the Debtor will benefit from avoiding the severe disruption to the Debtor’s

operations that would occur if the Debtor was to lose certain essential, unique and/or sole-source

material and service providers, it is prudent for the Debtor, in its discretion, to pay selected Critical

Vendors some or all of their prepetition claims. Consistent with these needs, and to ensure that

the Debtor’s liquidity is preserved as it transitions its business into chapter 11, the Debtor seeks

authority to implement procedures that will assist it in securing favorable terms and to deal with

any vendors that may repudiate or otherwise refuse to honor existing agreements with the Debtor.

        141.    The Debtor is mindful of its fiduciary obligation to seek to preserve and maximize

the value of its estate. Toward that end, the Debtor has carefully estimated all potential vendor

claims as of the Petition Date, including the Critical Vendor Claims, and has determined that the

ability to satisfy the Critical Vendor Claims is necessary to maximize enterprise value and avoid

immediate and irreparable harm to the Debtor and its residents. To be clear, the Debtor is aware

of the need to seek relief only for those vendors truly critical to the Debtor’s ongoing operations

and resident care. Furthermore, as discussed above, the Debtor believes that a portion of the

Critical Vendor Claims may be entitled to administrative priority under section 503(b)(9) of the



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Bankruptcy Code, and that payment of those Critical Vendor Claims would merely expedite the

treatment to which such vendors would otherwise be entitled and abides by the priority scheme of

the Bankruptcy Code.

       142.    The Debtor has spent significant time reviewing and analyzing its books and

records to identify truly critical suppliers of goods and services. The Debtor has carefully reviewed

its suppliers to determine, among other things, (i) which suppliers were sole source or limited

source suppliers, without whom the Debtor could not continue to operate without disruption, (ii)

the Debtor’s ability to find alternative sources of supply and the potential disruption or lost

revenues while a new supplier was resourced, (iii) which suppliers would be prohibitively

expensive to replace, (iv) which suppliers would present an unacceptable risk to the Debtor’s

operation given the volume of essential services or products that such suppliers provide, and (v)

the extent to which suppliers may have an administrative expense claim pursuant to section

503(b)(9) of the Bankruptcy Code. After compiling this information, the Debtor estimated the

amount it believes it would be required to pay to ensure the continued supply of critical goods and

services.

       143.    Based on their consideration of these factors, the Debtor anticipates that most

Critical Vendors will be medical supply or service providers, facility equipment maintenance,

laboratories, or staffing service providers that do not have a contractual relationship with the

Debtor and are either (a) sole-source providers or (b) cannot be replaced in a cost-efficient manner

or without causing irreparable harm to the Debtor’s operations or adversely affecting resident care




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and safety. 7 The Debtor estimates that it will be required to pay approximately $100,000 of the

Critical Vendor Claims during the interim period prior to a final hearing on this Motion.

         144.     As discussed in further detail in the Critical Vendor Motion, the Critical Vendors

are so essential to the Debtor’s business and resident care that the absence of any of its particular

goods or services, even for a short duration, could disrupt the Debtor’s operation and cause

irreparable harm to the Debtor’s business, goodwill, and resident care. This irreparable harm to the

Debtor, its residents and to the Debtor’s creditors will far outweigh the cost of payment of the

Critical Vendor Claims.

         145.     The relief requested herein is specifically designed to ensure the Debtor’s ability to

continue to provide health care services to its residents without interruption, comply with

applicable HIPAA requirements, and to preserve the going concern value of the Debtor’s business.

In contrast, the Debtor will suffer irreparable harm if essential goods and services are not provided

by the Critical Vendors. The Debtor cannot take the material risk that the Critical Vendors will

refuse to perform postpetition if their prepetition claims are not paid. While the Debtor has

historically enjoyed productive working relationships with these vendors, the limited number of

vendors who can supply the Debtor with the quantity and quality of goods and services that meets

their operational needs provides such vendors with considerable bargaining power in the event of

non-payment by the Debtor. At this critical time following the filing of this Chapter 11 Case, the

loss of such vendors will significantly impair the Debtor’s ability to provide quality resident care,

comply with HIPPA requirements, and maximize value for the benefit of all stakeholders.




7
    A complete list identifying the Critical Vendors has been provided to the United States Trustee, counsel to Capital
    Finance, LLC, (the “DIP Lender”), and the Court. Such list will also be provided promptly to counsel for any
    official committee appointed in this Chapter 11 Case.

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       146.    While the Debtor expects to secure a continuing postpetition supply of goods and

services in most cases through consensual negotiation with the Critical Vendors, the Debtor

recognizes that it must consider and plan for the vendors that may refuse to provide future goods

or services unless their prepetition claims are paid. The Critical Vendors are so critical to the

Debtor’s business that the lack of each of their particular goods or services, even for a short

duration, would damage the Debtor’s business, disrupt the Debtor’s operation, and cause

irreparable harm to the Debtor’s business, goodwill, and resident care. This irreparable harm to

the Debtor, its residents and to the recovery of all creditors will far outweigh the cost of payment

of the prepetition claims of the Critical Vendors.

       147.    The Debtor believes that payment of some or all Critical Vendor Claims owed to

Critical Vendors will be necessary to preserve the Debtor’s business and operations at the outset

of this Chapter 11 Case. During this period, it is imperative that the Debtor remains focused and

avoid distractions from vendors attempting to assert leverage or deny provision of goods and

services going forward, suddenly and without notice, which could cripple the Debtor’s operations

and resident care. Moreover, the loss of Critical Vendors and the efforts that would be required to

replace such vendors would be a substantial and costly distraction at a time when the Debtor must

focus on providing resident care and sustaining its business operations.

       148.    Furthermore, if the relief sought herein is not granted, Critical Vendors will have

no incentive to continue to provide the Debtor with Customary Trade Terms. The Customary

Trade Terms are important to the Debtor’s cash flow and overall business operations. The Debtor’s

historical practice has been to obtain favorable trade terms from its vendors.




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           149.   The continued availability of trade credit, in amounts and on terms consistent with

those the Debtor has maintained over the years, is advantageous to the Debtor. It allows the Debtor

to maintain and enhance necessary liquidity and focus on returning to profitability. The Debtor

believes that preserving working capital through the retention and reinstatement of advantageous

trade credit terms will enable the Debtor to stabilize business operations at this critical time, to

maintain its competitiveness, and to maximize the value of its business for the benefit of all

interested parties. Conversely, any deterioration of trade credit, or disruption or cancellation of

deliveries of goods or provision of essential services, could spell disaster for the Debtor’s

restructuring efforts and its residents. Any occurrence affecting operations could prolong the

Debtor’s Chapter 11 Case, increase administrative expenses, and jeopardize its restructuring

efforts.

           150.   Overall, the sums involved are small compared to the irreparable harm that the

Debtor would suffer if relationships with the Critical Vendors were terminated. Thus, I submit

that the requested relief is specifically designed to facilitate the Debtor’s reorganization efforts.

The Court should authorize the payment of Critical Vendor Claims to prevent enormous

disruptions to the Debtor’s business and resulting losses in value of the Debtor’s estate.

J.         DEBTOR’S MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS (A) AUTHORIZING
           POSTPETITION FINANCING; (B) GRANTING LIENS AND PROVIDING SUPERPRIORITY
           ADMINISTRATIVE EXPENSE CLAIMS; (C) AUTHORIZING THE USE OF CASH
           COLLATERAL; (D) GRANTING ADEQUATE PROTECTION; (E) MODIFYING THE
           AUTOMATIC STAY; (F) SCHEDULING A FINAL HEARING, AND (G) GRANTING RELATED
           RELIEF (THE “DIP MOTION”)

           151.   The Debtor requires immediate access to liquidity to ensure that they are able to

continue operating their business and provide for the care, welfare and safety of its resident. To

that end, prior to filing this chapter 11 case, the Debtor secured from Capital Finance, LLC (in its

capacity as the postpetition lender, the “DIP Lender”) a super-priority, secured, debtor-in-

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possession credit facility (the “DIP Facility”) consisting of a revolving credit facility (the “DIP

Revolving Facility”) with a maximum credit amount of $3,000,000.00 (the “Maximum Credit

Amount”).

       152.    The DIP Facility is subject to the terms and conditions of the DIP Financing

Agreement attached to the Interim Order (the “DIP Financing Agreement”), the Existing Loan

Agreement (as defined below), the Interim Order, the Final Order, and all other security

documents, guarantees and other legal documentation entered into in connection with the DIP

Facility and/or the Existing Loan Agreement (including, without limitation, all Loan Documents

(as defined in the Existing Loan Agreement), each as modified and supplemented by the DIP

Financing Agreement, the Interim Order, and the Final Order (collectively, together with the DIP

Financing Agreement, the Existing Loan Agreement, the “DIP Loan Documents”).

       153.    The DIP Facility will ensure that ongoing business operations and critical resident

care can continue without disruption. Among other things, the proceeds from the DIP Facility,

together with anticipated cash flow from operations, will be used to honor employee wages and

benefits, procure goods and services integral to the Debtor’s ongoing business operations, fund

certain operational expenses, and allow the Debtor to maintain favorable relationships with its

vendors, suppliers, employees, residents, and satisfy working capital needs in the ordinary course.

       154.    The Debtor believes that the DIP Facility represents the best and only source of

financing available to the Debtor under the circumstances and generally provides for:

               •      a $3 million revolving DIP Facility secured by consensual first priority
                      priming liens on the DIP Collateral (subject only to certain Prior Permitted
                      Senior Liens) as well as additional liens described herein;

               •      borrowings and disbursements to be made pursuant to the terms of an agreed
                      Approved Budget, a copy of which is attached to the Interim Order (the
                      “Approved Budget”); and



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               •       a scheduled maturity date of the DIP Facility of the earlier of (i) December
                       1, 2019; (ii) the effective date of a Plan; (iii) consummation of a sale of
                       substantially all assets of the Debtor; (iv) thirty-five (35) days after the
                       Petition Date if the Final Order has not been entered in the Chapter 11 Case
                       on or prior thereto; and (v) the date on which the maturity of the Post-
                       Petition Obligations is accelerated in accordance with the DIP Financing
                       Agreement.

       155.    Absent interim approval of the DIP Facility, there is a significant risk that the

Debtor would be forced to cease operations or otherwise stop paying their obligations as they

become due, thereby threatening the health safety and welfare of the Debtor’s resident.

       156.    As more fully set forth below, in addition to the obligations due to Capital Finance,

LLC (in its capacity as the prepetition lender, the “Existing Lender”), substantially all the

Debtor’s assets are encumbered by the liens of Debtor’s landlord, 590 South 5th Avenue, LLC (the

“Landlord”) and the Landlord’s lender Capital Funding, LLC (the “Capital Funding”) as part of

a loan to Landlord to purchase the Facility (as defined below). After reaching out to several other

potential sources, the Debtor does not believe third-party debtor-in-possession financing would be

reasonably available and has determined that the proposed DIP Facility provides the best path

forward under the circumstances to address their immediate liquidity needs and fund

administration of this chapter 11 case.

       157.    As noted above, the Debtor proposes to use the DIP Facility and Cash Collateral to

provide resident care, satisfy employee wages, employee benefits, certain other operational

expenses as set forth in the Approved Budget, and to fund administration of this Chapter 11 Estate.

Without access to the DIP Facility and Cash Collateral to satisfy these obligations, the Debtor will

have insufficient funds to provide for: (i) resident welfare, care and safety; (ii) pay wages for their

employees; (iii) preserve and maximize the value of its estate; and (iv) administer this Chapter 11

Case through a reorganization process. Thus, the Debtor’s access to the DIP Facility and Cash

Collateral is critical to the continued operation of the Debtor’s business as a going concern for the
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benefit of all stakeholders. Absent approval of the Interim Order, the Debtor will not have access

to the DIP Facility or the Cash Collateral necessary to fund administration of this chapter 11 estate,

causing immediate and irreparable harm to the Debtor’s estate to the detriment of all resident,

stakeholders and other parties-in-interest.

       158.    The Debtor does not believe that alternative sources of financing are readily

available due to the Debtor’s capital structure and their inability to obtain a commitment from

other potential lenders to provide debtor-in-possession financing. Substantially all of the Debtor’s

assets are encumbered by liens arising under the Existing Loan Agreement and the Operating

Lease. As a result, the Debtor does not believe that third-party debtor-in-possession financing

would be reasonably available given the Debtor’s existing capital structure.

       159.    Indeed, the Debtor, after consulting its advisors, believes that because any potential

sources of financing have insisted on priming the Existing Lender and Capital Funding

(collectively, the “Prepetition Secured Parties”), such outside financing is not a feasible option.

Without the consent of the Prepetition Secured Parties, any attempts at non-consensual priming of

the Prepetition Secured Parties’ liens would likely involve a costly, extended and contested

hearing. The Debtor does not believe that they would be able to demonstrate adequate protection

for the non-consensual priming of the Prepetition Secured Parties’ liens. Moreover, any such

outside financing would expose the Debtor to the execution risk associated with a new lender

transaction, including material timing and due diligence constraints, necessarily involving the

payment of additional professional fees.

       160.    In contrast, the proposed DIP Facility offered by the DIP Lender will allow the

Debtor to avoid the need to engage in a costly and time-consuming priming fight at the outset of

this Chapter 11 Case. Accordingly, the Debtor believes that the DIP Facility provides, on balance,



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a more attractive postpetition financing proposal than alternative postpetition financing obtained

from a third-party. Further, the DIP Facility is the product of extensive good faith, arms’-length

negotiations with the DIP Lender and is essential to continue to provide resident care and continue

to operate as a going concern.

       161.    The Debtor’s determination to move forward with the DIP Facility is an exercise

of their sound business judgment following an arms’-length process and careful evaluation of

alternatives. Specifically, and in the face of limited cash on hand, the Debtor and its advisors

determined that the Debtor would require significant postpetition financing to support its

operational and restructuring activities.    Accordingly, the Debtor negotiated the DIP Loan

Documents with the DIP Lender in good faith, at arms’ length, and with the assistance of its

advisors, and the Debtor believes that it has obtained the best financing available.

       162.    I believe that the terms and conditions of the DIP Facility and the DIP Loan

Documents (i) are fair, reasonable, and the best available to the Debtors under the circumstances,

(ii) reflect the Debtors’ exercise of prudent business judgment consistent with their fiduciary

duties, and (iii) are supported by reasonably equivalent value and consideration.

       163.    At the Final Hearing, the Debtors will seek final approval of the DIP Facility

pursuant to a proposed final order, which shall be in form and substance acceptable to the DIP

Lender, approving such postpetition financing arrangements, notice of which Final Hearing and

Final Order will be provided in accordance with the proposed Interim Order.




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                                         CONCLUSION

       164.    For all of these reasons, I respectfully request that this Court grant the relief

requested in each of the First Day Motions filed concurrently herewith.

       165.    This concludes my declaration.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.


Executed on August 2, 2019




                                                         Charles B. Blalack




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